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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON

KENNI RAYMON ALONZO,

           Movant

v.                                          CIVIL ACTION NO. 2:02-1456
                                            (Criminal No. 2:00-00130-01)

UNITED STATES OF AMERICA,

           Respondent



                      MEMORANDUM OPINION AND ORDER


           Pending are movant’s (1) motion to reconsider, alter,

or amend the Judgment entered February 27, 2006, and (2) request

for a certificate of appealability, submitted March 14, 2006.1


           As noted, on February 27, 2006, the court entered its

Judgment denying movant’s motion pursuant to 28 U.S.C. § 2255.

Movant seeks to appeal on the same grounds previously presented

to the court in his section 2255 motion, namely, that (1) his

conviction as to Count I was procured through the

knowing use of perjured testimony by witness Ronald Copeland, and



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      These motions, along with movant’s notice of appeal
submitted the same day, do not appear on the docket sheet.
Movant apparently misdirected the original copies of the
documents to chambers. The original copies, received March 14,
2006, have been transmitted to the Clerk, who is directed to
treat each as filed nunc pro tunc on March 14, 2006.
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(2) he received ineffective assistance of counsel as a result of

his lawyer’s failure to raise any objection at trial, post-trial,

at sentencing, or on direct appeal, to the putatively perjured

testimony.    The court found both of these grounds lacked merit

because, inter alia, movant did not make the necessary showings

under either United States v. Griley, 814 F.2d 967 (4th Cir.

1987) or Strickland v. Washington, 466 U.S. 668 (1984).


           The Judgment is not appealable unless a circuit justice

or district court judge issues a certificate of appealability.

28 U.S.C. § 2253(c)(1).      A certificate of appealability will not

issue absent “a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2).            An inmate

satisfies this standard by demonstrating that reasonable jurists

would find that any assessment of the constitutional claims by

the district court is debatable or wrong and that any dispositive

procedural ruling by the district court is likewise debatable.

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v.

McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676,

683-84 (4th Cir. 2001).


           The Judgment was based upon the analysis contained in

the memorandum opinion and order that accompanied it.              The

memorandum opinion and order, along with the proposed findings of

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fact and conclusions of law entered by the United States

Magistrate Judge, discuss the meritless nature of the movant’s

contentions.    Movant’s current filings likewise fail to make the

necessary showings under Griley and Strickland.              The court,

accordingly, concludes that the movant has not demonstrated that

reasonable jurists would find the court’s resolution of the

issues in this case to be either debatable or in error.


           Based upon the foregoing, it is ORDERED that movant’s

motion to reconsider, alter, or amend, along with his request for

a certificate of appealability, be, and they hereby are, denied.


           The Clerk is directed to forward copies of this written

opinion and order to the movant, all counsel of record, and the

United States Magistrate Judge.


                                         ENTER:       October 6, 2006


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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